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                                       UNITED STATES DISTRICT COURT
                                                     District of Minnesota




  United States of America,                                        Criminal No. 12-295 (PAM/AJB)
                              Plaintiff,
  v.                                                               JUDGMENT IN A CRIMINAL CASE


  1.            Eric Wade Forcier, and

  2.            Julie Ann Campana,
                              Defendants.


  (x)         Decision by Court. This action came to trial or hearing before the Court. The issues have
              been tried or heard and a decision has been rendered.




                              NOW, THEREFORE, IT IS HEREBY ORDERED that:

                              1.     The Motion of the United States for a Final Order of Forfeiture [Docket

              No. 82] is GRANTED;

                              2.     All right, title and interest in the .32 caliber FEG pistol, serial number

              BK1827, and all associated ammunition, is hereby forfeited to and vested in the United

              States of America pursuant to 18 U.S.C. § 924(d)(1), in conjunction with 28 U.S.C. §

              2461(c); and

                              3.     The above-described property shall be disposed of by the United States in

              accordance with law.



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  Date: October 2, 2013                                      RICHARD D. SLETTEN, CLERK


                                                               s/Leah E. Gilgenbach
                                                             (By) Leah E. Gilgenbach, Deputy Clerk




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